Case 1:18-cv-08947-LJL Document 3-1 Filed 09/29/18 Page 1 of 8

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

UNITED STATES SECURITIES AND

EXCHANGE COMMISSION

Plaintiff,

VS. No.
TESLA, INC.,

Defendant.

 

CONSENT OF DEFENDANT TESLA, INC.

1. Defendant Tesla, Inc. (“Defendant” or “Company”) waives service of a summons
and the complaint in this action, enters a general appearance, and admits the Court’s Jurisdiction
over Defendant in this action only and over the subject matter of this action.

2. Without admitting or denying the allegations of the complaint (except as provided
herein in paragraph 14 and except as to personal jurisdiction as to this matter only and subject
matter jurisdiction, which Defendant admits), Defendant hereby consents to the entry of the final
Judgment in the form attached hereto (the “Final Judgment”) and incorporated by reference
herein, which, among other things:

{a} permanently restrains and enjoins Defendant from violation of Rule 13a-
15 of the Securities Exchange Act of 1934 (the “Exchange Act”) /17
CER. § 240. 13a-15];

(b) orders Defendant to pay a civil penalty in the amount of $20,000,000
under Section 21(d)(3) of the Exchange Act [15 U.S.C. § 78u(d) (3)]; and

(c) requires Defendant to comply with the undertakings set forth in this
Consent and incorporated in the Final Judgment.

3. Defendant acknowledges that the civil penalty paid pursuant to the Final
Case 1:18-cv-08947-LJL Document 3-1 Filed 09/29/18 Page 2 of 8

Judgment may be distributed pursuant to the Fair Fund provisions of Section 308(a) of the
Sarbanes-Oxley Act of 2002, as amended. Regardless of whether any such Fair Fund
distribution is made, the civil penalty shall be treated as a penalty paid to the government for all
purposes, including all tax purposes. To preserve the deterrent effect of the civil penalty,
Defendant agrees that it shall not, after offset or reduction of any award of compensatory
damages in any Related Investor Action based on Defendant’s payment of disgorgement in this
action, argue that it is entitled to, nor shall it further benefit by, offset or reduction of such
compensatory damages award by the amount of any part of Defendant’s payment of a civil
penalty in this action (“Penalty Offset”). If the court in any Related Investor Action grants such
a Penalty Offset, Defendant agrees that it shall, within 30 days after entry of a final order
granting the Penalty Offset, notify the Commission’s counsel in this action and pay the amount
of the Penalty Offset to the United States Treasury or to a Fair Fund, as the Commission directs.
Such a payment shall not be deemed an additional civil penalty and shall not be deemed to
change the amount of the civil penalty imposed in this action. For purposes of this paragraph, a
“Related Investor Action” means a private damages action brought against Defendant by or on
behalf of one or more investors based on substantially the same facts as alleged in the Complaint
in this action.

4. Defendant agrees that it shall not seek or accept, directly or indirectly,
reimbursement or indemnification from any source, including but not limited to payment made
pursuant to any insurance policy, with regard to any civil penalty amounts that Defendant pays
pursuant to the Final Judgment, regardless of whether such penalty amounts or any part thereof
are added to a distribution fund or otherwise used for the benefit of investors. Defendant further
agrees that it shall not claim, assert, or apply for a tax deduction or tax credit with regard to any
federal, state, or local tax for any penalty amounts that Defendant pays pursuant to the Final
Judgment, regardless of whether such penalty amounts or any part thereof are added to a
distribution fund or otherwise used for the benefit of investors.

5. Within forty-five (45) days of the filing of this Consent, Defendant undertakes to
Case 1:18-cv-08947-LJL Document 3-1 Filed 09/29/18 Page 3 of 8

appoint an independent Chairman of the Company’s Board of Directors (“Chairman”) to replace

Elon Musk, and agree not to reappoint Elon Musk to Chairman for a minimum of three years and

unless such reappointment is approved by a majority vote of shareholders at such time. Upon

request by the Company, the Commission staff may grant in its sole discretion an extension to

the deadline set forth above.

6. Within ninety (90) days of the filing of this Consent, Defendant undertakes to:

(a)

(b)

(c}

add two independent directors to the Company’s Board of Directors (one
of which may be the independent Chairman if that person is appointed
from outside the Company, its affiliates, and the affiliates of Elon Musk).
Upon request by the Company, the Commission staff may grant in its sole
discretion an extension to the deadline set forth above:

create a permanent committee (“Committee”) of the Company’s Board of
Directors, consisting of independent directors only, overseeing the (i)
implementation of the terms of this Consent and incorporated Final
Judgment; (ii) controls and processes governing the Company’s and its
senior executives’ disclosures and/or public statements that relate to the
Company; and (iii) review and resolution of human resources issues or
issues raising conflicts of interest that involve any member of executive
management. The charter and composition of the Committee is subject to
review and approval by the staff of the Commission:

employ or designate an experienced securities lawyer (“Securities
Counsel”) whose qualifications are not unacceptable to the staff and
maintain such counsel (or a successor Securities Counsel) for so long as
the Company remains a reporting company under the Securities Exchange
Act of 1934. The Securities Counsel will review communications made
through Twitter and other social media by the Company’s senior officers

in a manner that is consistent with the Company’s disclosure policy and
Case 1:18-cv-08947-LJL Document 3-1 Filed 09/29/18 Page 4 of 8

(d)

(e)

procedures, including the procedures and controls referenced in subsection
(d) below, as well as advise the Company on securities issues, including,
but not limited to, compliance with all federal securities laws and
regulations;

implement mandatory procedures and controls to oversee all of Elon
Musk’s communications regarding the Company made in any format,
including, but not limited to, posts on social media (e.g., Twitter), the
Company’s website (e.g., the Company’s blog), press releases, and
investor calls, and to pre-approve any such written communications that
contain, or reasonably could contain, information material to the Company
or its shareholders. The definition of, and the process to determine, which
of Elon Musk’s communications contain, or reasonably could contain,
information material to the Company or its shareholders shall be set forth
in the Company’s disclosure policies and procedures; and

certify, in writing, compliance with the undertakings set forth above in
paragraphs 5 and 6. The certification shall identify the undertakings,
provide written evidence of compliance in the form of a narrative, and be
supported by exhibits sufficient to demonstrate compliance. The
Commission staff may make reasonable requests for further evidence of
compliance, and Defendant agrees to provide such evidence within a
reasonable amount of time. Defendant shall submit the certification and
supporting material to Steven Buchholz, Assistant Regional Director, U.S.
Securities and Exchange Commission, 44 Montgomery Street, 28th Floor,
San Francisco, CA 94104, with a copy to the Office of Chief Counsel of
the Enforcement Division, 100 F Street NE, Washington, DC 20549, no
later than fourteen (14) days from the date of the completion of the

undertakings.
Case 1:18-cv-08947-LJL Document 3-1 Filed 09/29/18 Page 5 of 8

7. Defendant waives the entry of findings of fact and conclusions of law pursuant to

Rule 52 of the Federal Rules of Civil Procedure.

8. Defendant waives the right, if any, to a jury trial and to appeal from the entry of
the Final Judgment.
9. Defendant enters into this Consent voluntarily and represents that no threats,

offers, promises, or inducements of any kind have been made by the Commission or any
member, officer, employee, agent, or representative of the Commission to induce Defendant to
enter into this Consent.

10. Defendant agrees that this Consent shall be incorporated into the Final Judgment
with the same force and effect as if fully set forth therein.

11. Defendant will not oppose the enforcement of the Final Judgment on the ground,
if any exists, that it fails to comply with Rule 65(d) of the Federal Rules of Civil Procedure, and
hereby waives any objection based thereon.

12. Defendant waives service of the Final Judgment and agrees that entry of the Final
Judgment by the Court and filing with the Clerk of the Court will constitute notice to Defendant
of its terms and conditions. Defendant further agrees to provide counsel for the Commission,
within thirty days after the Final Judgment is filed with the Clerk of the Court, with an affidavit
or declaration stating that Defendant has received and read a copy of the Final Judgment.

13. Consistent with 17 C.F.R. § 202.5(f, this Consent resolves only the claims
asserted against Defendant in this civil proceeding. Defendant acknowledges that no promise or
representation has been made by the Commission or any member, officer, employee, agent, or
representative of the Commission with regard to any criminal liability that may have arisen or
may arise from the facts underlying this action or immunity from any such criminal liability.
Defendant waives any claim of Double Jeopardy based upon the settlement of this proceeding,
including the imposition of any remedy or civil penalty herein. Defendant further acknowledges
that the Court’s entry of a permanent injunction may have collateral consequences under federal

or state law and the rules and regulations of self-regulatory organizations, licensing boards, and
Case 1:18-cv-08947-LJL Document 3-1 Filed 09/29/18 Page 6 of 8

other regulatory organizations. Such collateral consequences include, but are not limited to, a
statutory disqualification with respect to membership or participation in, or association with a
member of, a self-regulatory organization. This statutory disqualification has consequences that
are separate from any sanction imposed in an administrative proceeding. In addition, in any
disciplinary proceeding before the Commission based on the entry of the injunction in this
action, Defendant understands that it shall not be permitted to contest the factual allegations of
the complaint in this action.

14. Defendant understands and agrees to comply with the terms of 17 C.F.R. §

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202.5(e), which provides in part that it is the Commission’s policy “not to permit a defendant or
respondent to consent to a judgment or order that imposes a sanction while denying the
allegations in the complaint or order for proceedings,” and “a refusal to admit the allegations is
equivalent to a denial, unless the defendant or respondent states that it neither admits nor denies
the allegations.” As part of Defendant’s agreement to comply with the terms of Section 202.5(e),
Defendant: (i) will not take any action or make or permit to be made any public statement
denying, directly or indirectly, any allegation in the complaint or creating the impression that the
complaint is without factual basis; (ii) will not make or permit to be made any public statement
to the effect that Defendant does not admit the allegations of the complaint, or that this Consent
contains no admission of the allegations, without also stating that Defendant does not deny the
allegations; and (iii) upon the filing of this Consent, Defendant hereby withdraws any papers
filed in this action to the extent that they deny any allegation in the complaint. If Defendant
breaches this agreement, the Commission may petition the Court to vacate the Final Judgment
and restore this action to its active docket. Nothing in this paragraph affects Defendant's: (1)
testimonial obligations: or (ii) right to take legal or factual positions in litigation or other legal
proceedings in which the Commission is not a party.

15. Defendant hereby waives any rights under the Equal Access to Justice Act. the
Small Business Regulatory Enforcement Fairness Act of 1996, or any other provision of law to

seek from the United States, or any agency, or any official of the United States acting in his or
Case 1:18-cv-08947-LJL Document 3-1 Filed 09/29/18 Page 7 of 8

her official capacity, directly or indirectly, reimbursement of attorney’s fees or other fees,
expenses, or costs expended by Defendant to defend against this action. For these purposes,
Defendant agrees that Defendant is not the prevailing party in this action since the parties have
reached a good faith settlement.

16. Defendant agrees that the Commission may present the Final Judgment to the
Court for signature and entry without further notice.

17. Defendant agrees that this Court shall retain jurisdiction over this matter for the

purpose of enforcing the terms of the Final Judgment.

NX po
Dated: _ —'@ pte 4 bel ol 2018 Tesla, Inc, ———

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Todd A. Maron
General Counsel!
Tesla, Inc.

3500 Deer Creek Road
Palo Alto, CA 94304

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On Wioremboey L-|__, 2018, ‘Joa a uo , a person known to me,
personally appeared before me and acknowledged executing the foregeing Consent with full
authority to do so on behalf of \a, (Wt - as thax ( maveel
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Notary Public - California 5

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Approved as to form:

Liab ff Pand:

Bradley. Bonet

Cahill Gordon & Reindel LLP
1990 K Street, N.W.

Suite 950

Washington, D-C. 20006

Attorney for Defendant
Case 1:18-cv-08947-LJL Document 3-1 Filed 09/29/18 Page 8 of 8

CALIFORNIA JURAT

 

A notary public or other officer completing this
certificate verifies only the identity of the individual who
signed the document to which this certificate is
attached, and not the truthfulness, accuracy, or validity
of that document.

 

 

 

STATE OF CALIFORNIA }
) ss.
COUNTY OF SAN MATEO )

Subscribed and sworn to (or affirmed) before me on this 29th day of September 2018, by Todd
Maron, proved to me on the basis of satisfactory evidence to be the person(s) who appeared

before me.

WITNESS my hand and official seal.
STEPHANIE ROBIN CASTRO VARGO

vm, fir ge Notary Public - California

 

SY (Si aoe r Alameda Gounty
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